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               2015 American Heart Association/American Stroke
              Association Focused Update of the 2013 Guidelines for
             the Early Management of Patients With Acute Ischemic
                   Stroke Regarding Endovascular Treatment
              A Guideline for Healthcare Professionals From the American Heart
                           Association/American Stroke Association
                The American Academy of Neurology affirms the value of this guideline as an educational
                                               tool for neurologists.
         Endorsed by the American Association of Neurological Surgeons (AANS); Congress of Neurological
          Surgeons (CNS); AANS/CNS Cerebrovascular Section; American Society of Neuroradiology; and
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                                Society of Vascular and Interventional Neurology

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                                 on behalf of the American Heart Association Stroke Council

      Purpose—The aim of this guideline is to provide a focused update of the current recommendations for the endovascular
b
        treatment of acute ischemic stroke. When there is overlap, the recommendations made here supersede those of previous
        guidelines.
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(f)
      Methods—^This focused update analyzes results from 8 randomized, clinical trials of endovascular treatment and other
        relevant data published since 2013. It is not intended to be a complete literature review from the date of the previous
        guideline publication but rather to include pivotal new evidence that justifies changes in current recommendations.
        Members of the writing committee were appointed by the American Heart Association/American Stroke Association
        Stroke Council’s Scientific Statement Oversight Committee and the American Heart Association/American Stroke
        Association Manuscript Oversight Committee. Strict adherence to the American Heart Association conflict of interest
        policy was maintained throughout the consensus process. Recommendations follow the American Heart Association/
        American Stroke Association methods of classifying the level of certainty of the treatment effect and the class of evidence.
        Prerelease review of the draft guideline was performed by 6 expert peer reviewers and by the members of the Stroke
        Council Scientific Statement Oversight Committee and Stroke Council Leadership Committee.


        The American Heart Association makes every effort to avoid any actual or potential conflicts of interest that may arise as a result of an outside relationship
      or a personal, professional, or business interest of a member of the writing panel. Specifically, all members of the writing group arc required to complete
      and submit a Disclosure Questionnaire showing all such relationships that might be perceived as real or potential conflicts of interest.
         This statement was approved by the American Heart Association Science Advisory and Coordinating Committee on June 5, 2015, and the American
      Heart Association Executive Committee on June 12,2015. A copy of the document is available at http://niy.americanheart.drg/statements by selecting either
      the “By Topic” link or the “By Publication Date” link. To purchase additional reprints, call 843-216-2533 or e-mail kelle.ramsay@wolter.skluwer.com.
        The American Heart Association requests that this document be cited as follows: Powers WJ, Derdeyn CP, Biller J, Coffey CS, Hoh BL, Jauch EC,
      Johnston KC, Johnston SC, Khalessi AA, Kidwell CS. Meschia JF. Ovbiagele B, Yavagal DR; on behalf of the American Heart Association Stroke
      Council. 2015 American Heart As.sociation/American Stroke As.sociation focused update of the 2013 guidelines for the early management of patients with
      acute ischemic stroke regarding endovascular treatment: a guideline for healthcare professionals from the American Heart Association/American Stroke
      A,s.sociation. Stroke. 2015;46:3020-3035.
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        Stroke is available at http://stroke.ahajoumals.org                                                                DOI: 10.n61/STR.0000000000000074

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                          Powers et al        Focused Update on Acute Ischemic Stroke and Endovascular Treatment                       3021


      Results—Evidence-based guidelines are presented for the selection of patients with acute ischemic stroke for endovascular
        treatment, for the endovascular procedure, and for systems of care to facilitate endovascular treatment.
      Conclusions—Certain endovascular procedures have been demonstrated to provide clinical benefit in selected patients
        with acute ischemic stroke. Systems of care should be organized to facilitate the delivery of this care. (Stroke. 2015;46:
        3024-3039. DOI: 10.1161/STR.0000000000000074.)
          Key Words: AHA Scientific Statements ■ endovascular procedures B infusions, intra-arterial ■ neuroimaging
                                             ■ stents ■ stroke ■ therapeutics


      O ince the publication of the most recent “Guidelines for                     New Randomized, Clinical Trials of
      O the Early Management of Patients With Acute Ischemic
                                                                                      Endovascular Stroke Treatment
      Stroke” in 2013,' substantial new high-quality evidence on the
      clinical efficacy of endovascular treatments of acute ischemic-
                                                                             Studies With Primarily Intra-Arterial Fibrinolysis
      stroke has become available. This focused update on endovas­
                                                                             or First-Generation Mechanical Embolectomy
      cular treatment of acute ischemic stroke analyzes results from 8
                                                                             Devices
      randomized, clinical tr ials of endovascular treatment and other       Three randomized controlled trials of endovascular treatment
      relevant data published since 2013 while taking into account           of acute ischemic stroke with primarily intra-arterial fibrino­
      the previous evidence summarized in the 2013 guidelines. This          lysis and/or first-generation mechanical embolectomy devices
o     focused update is not intended to be based on a complete litera­       were carried out from 2004 to 2012 (Tables 2-4). Intr'a-arterial
fi)
                                                                             Versus Systemic Thrombolysis for Acute Ischemic Stroke
i:    ture review from the date of the pr evious guideline publication
      but rather to include pivotal new evidence that justifies changes      (SYNTHESIS Expansion) was a prospective, randomized,
                                                                             open-label, blinded-end-point (PROBE), 2-ami superiority
      in cuiTent lecommendations. When there is overlap, the recom­
                                                                             trial that enrolled 362 patients with ischemic stroke who were
      mendations made here supersede those of previous guidelines.
                                                                             eligible for intravenous r-tPA within 4.5 hours of onset and for
          Members of the writing committee were appointed by



i
                                                                             whom endovascular treatment was possible within 6 hours. No
      the American Heart Association (AHA)/American Stroke
                                                                             imaging other than nonenhanced computed tomography (CT)
      Association Stroke Council’s Scientific Statement Oversight
                                                                             was required. The patients were randomized 1:1 to standard-
      Committee and the AHA/American Stroke Association
                                                                             dose intravenous r-tPA 0.9 mg/kg or endovascular therapy
      Manuscript Oversight Committee, I'epresenting various areas
ET                                                                           (intra-arterial r-tPA, mechanical clot disruption or retrieval,
q     of medical expertise. Strict adherence to the AHA conflict
                                                                             or a combination of these approaches). Only 8% had poste­
      of interest policy was maintained throughout the consensus
                                                                             rior circulation strokes. Median onset to treatment time inter­
      process. Panel members were assigned topics relevant to their
(g                                                                           val was 165 minutes in the intravenous r-tPA group and 225
i     areas of expertise, reviewed the stroke literature with empha­
                                                                             minutes in the endovascular group. Among the patients who
      sis on publications since the pr'ior guidelines, and dr'afted
                                                                             received endovascular treatment, 66% underwent infusion of
      recommendations in accordance with the American College
                                                                             intra-arterial r-tPA and thrombus fragmentation with a guide-
      of Cardiology/AHA’s Level of Evidence grading algorithm
■5                                                                           wire only; in 34%, a device was also deployed. Stent retrievers
.K    (Table 1). All recommendations were unanimously approved
                                                                             were used in 14%. Data on rates and efficacy of recanalization
      by the members of the writing group.                                   were not published. There was no difference in the primary
                                                                             end point of the percentage with good outcome defined as a
         Treatment With Intravenous Recombinant                              modified Rankin Scale (mRS)'' * score of 0 or 1, death at 3
            Tissue-Type Plasminogen Activator                                months, or symptomatic intracerebral hemorrhage (sICH) at
      Rapid administration of intravenous rocombinant tissue-type            7 days. There were no significant dilferences in outcomes in
      plasminogen activator (r-tPA) to appropriate patients remains          subgroups, including time to treatment (0-3 or 3-4.5 hours),
      the mainstay of early troatment of acute ischemic stroke.'             baseline National Institutes of Health Stioke Scale (NIHSS)''
      Timely restoration ol' blood How in ischemic stroke patients           score (<11 or ^11), and age (^67 years or >67 years).'"
      is effective in reducing long-term morbidity. For patients                  The Interventional Management of Stroke Trial HI (IMS
      who meet national and international eligibility guidelines,            ni) was a PROBE, 2-ann superiority trial that enrolled
      intravenous r-tPA improves functional outcomes at 3 to 6               patients with a major ischemic stroke defined by NIHSS score
      months when given within 4.5 hours of ischemic stroke onset            ^10 who received intravenous r-tPA within 3 hours and were
      and should be administered. Every effort should be made to             likely to or known to have occlusion of a major cerebral artery.
      shorten any delays in the initiation of treatment because earlier      Those who showed clear hypodensity in greater than one
      treatments are associated with increased benefits. If patients         third of the middle cerebral artery (MCA) territory on non­
      who are eligible for intravenous r-tPA do not have intracranial        enhanced CT were excluded. No other imaging was required.
      vascular imaging as part of their initial evaluation, they should      An amendment midway through the tritd allowed screening
      begin receiving intravenous r-tPA befoie being transported for         with CT angiography (CTA) for patients with NIHSS score
      additional imaging and before being transferred for endovas­           >8. More than 95% received a clinical diagnosis of anterior
      cular treatment. This approach will help minimize onset-to-            circulation stroke. Patients were randomly allocated 1:2 to
      treatrnent times, a key driver of efficacy for r-tPA.'"^’              standard-dose intravenous r-tPA (0.9 mg/kg) or to intravenous

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      Table 1. Applying Class of Recommendations and Level of Evidence to Clinical Strategies, Interventions, Treatments, or Diagnostic
      Testing in Patient Care*

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       :ct»^lll{STR0NG)                                                                    IIEVELW
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0      :.’;;-’'Suggesfed/phfases'f6r..writing recomrnendations ’ ,         * •_’ ’
        <■! p Is-    rdasoriale'-'-N                                                      •_'*’■a, Moderate quality evidence^: from’ 1 or more well desigried, .
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               D Can beuseful/effective/beneficial,
               “^'Comparative Effectiveness Phrasest ^
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?3     ;         p; ^ea t mehh^afegy A-iS; p 03 b|y irecbm m en^
3*                , preference to treatments .                                i >J
■§
        . ^ ° It IS reasonable to choose treatment A
       ■      over treatments                                        f,.          j             i;“;|afjclomizedj&hoi^hdqifiiz^jpbservatick
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                                                                                                     studies .with limitatiqns'Of,design or’execution                 ‘                   .
b                                                                    SefiflRiskl                “ Meta’-analysesiOf such studies       ,     ^         ,
I         ' Suggestedtphrases,for writing recommendkio'ns^                                 i|’ ■“ •Rksiological or mechanistic studies m human subjects > ■                              ':
       /V      May^nilgh't'bejirekka^
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       :^E;;“'^®Sy|migHt!blx1jh'si’9er^V-'f'-.'';-‘-                                       m%C7T                               r-i-              V""
                                                                                             j,,when eyidence'is insufficient; vague; or conflicting'- ^
                                   ODERAfi                      iStlRili
                                                           :'V‘ f                        COR and LOE are determined independently (any COR may be paired with any LOE).

                                                                                         A recommendation with LOE C or E does not imply that the recommendation is weak.
NJ
                                                                                         Many important clinical questions addressed in guidelines do not lend themselves to
U»                                                                                       clinical trials. Although RCTs are unavailable, there may be a very clear clinical consensus
O                                                                                        that a particular test or therapy is useful or effective.

                                                                                         * The outcome or result of the intervention should be specified (an improved clinical
       S                                                                                   outcome or increased diagnostic accuracy or incremental prognostic information).

                                                                                         t For comparative-effectiveness recommendations (COR I and Ha; LOE A and B only),
                                                                                           studies that support the use of comparator verbs should involve direct comparisons
              S'qggKk phta^s,,l8r>JwHHnf|eGpqimeh:dati9nsi;'? ■                            of the treatments or strategies being evaluated.
           ■ ;o fptentfa%;hami^)^:' 7t;7k- '^^77.'f                                      T The method of assessing quality is evolving, including the application of standardized,
                                                                                           widely used, and preferably validated evidence grading tools; and for systematic reviews,
                                                                                           the incorporation of an Evidence Review Committee.

                                                                                         COR indicates Class of Recommendation; LOE, Level of Evidence;
            6'Should not.                                                                NR, nonrandomized; R, randomized; and RCT, randomized controlled trial.
                                                                f' ''■•■3 i*"




      r-tPA 0.6 mg/kg followed by endovascular therapy with a                             retrievers used. Reczmalization occurred 325±52 minutes after
      device and/or intra-arterial r-tPA if occlusion persisted and if                    stroke onset, achieving Thrombolysis in Cerebral Infarction
      the endovascular intervention could be stttrted within 5 hours                      (TICI) grade" 2b/3 in 41%. The trial was stopped early for
      and completed within 7 hours of onset. In the endovascular                          futility after 656 of the projected 900 subjects were enrolled.
      group, groin puncture occurred at a mean±SD of 208±47 min­                          There was no signilicant dili'erence in outcome between the
      utes after stroke onset. Endovascular therapy was adminis­                          intravenous r-tPA-only group and the endovascular group for
      tered in 77% randomized to this treatment group. Intra-arterial                     the primary end point of the percentage of patients with a good
      r-tPA alone was used in 41%, and a device with or without                           outcome zts measured by an mRS score of 0 to 2 or for death at
      intra-arterial r-tPA was used in 59%; in only 1.5% were stent                       90 days. In the endovascular group, there was no difference in


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      Table 2.      Selected Eligibility Criteria for Recent Randomized, Clinical Trials of Endovascular Treatments for Acute Ischemic Stroke
                     Treatment Groups                                                                             Eligibility

                                                  IV r-tPA                                            NIHSS        Prestroke     Anticoagulation/                   Vascular
      Study         Active vs Control             Eligible    Age,y        Time         Territory     Score        Function       Coagulopathy        ASPECTS       Imaging     Other Imaging
      SYNTHESIS IA drug/any device/              Required     18-80      6 h to IAT        Any         <25                          Exclusion            No            No             No
                                                                                                                  mRS score
      Expansion both vs IV r-tPA                                                                                    0-1              criteria

      IMS III       2/3 standard-dose            Required,    18-82      5 h to IAT        Any        >10 or      mRS score         Exclusion            <4            No         >1/3 MCA ,
                    IV r-tPA-flA drug/any          <3h                                               8-9 with       0-2              criteria                                     excluded
                    device/both vs IV r-tPA                                                          occlusion
      MR RESCUE Standard (±IV                      Not        18-85   8 h to IAT Stop Anterior         6-29       mRS score         Exclusion            No        CTA, MRA       Multimodal
                r-tPA)+MERCI or                  required                  by9h       circulation                   0-2              criteria                                     CT/MRfor
                Penumbra vs standard                                                                                                                                             stratification
                (±IV r-tPA)
      MR CLEAN      Standard (±IV r-tPA)-t-IA      Not        >18       6 h to IAT      Anterior        >2          None            Exclusion            No        CTA, MRA,
                    UK, r-tPA, device vs         required                              circulation                                   criteria                        DSA
                    standard (±IV r-tPA)
      ESCAPE        Standard (±IV                  Not        >18        12hto          ICA/MCA         >5                                               >6           CTA "       Multiphase
                                                                                                                 Barthel score    No exclusion
                    r-tPA)-(-stent retriever .   required             randomization                                  >90            criteria                                      CTAorCT
D                   “recommended” vs                                                                                                                                            perfusion for
o
3                   standard (±IV r-tPA)                                                                                                                                         detection of
0                                                                                                                                                                               core size and
                                                                                                                                                                                  collaterals
n
      SWIR                                       Required     18-80                      ICA/M1        8-29                         Exclusion            >6

1                   Standard (±IV                                      6 h to groin                               mRS score                                        CTA, MRA      CT or MRI
      PRIME         r-tPA)-rstent retriever                                                                         0-1              criteria                                   mismatch for
zr                  vs standard (±IV r-tPA)                                                                                                                                       first 71
                                                                                                                                                                                ASPECTS >6
                                                                                                                                                                                for remaining
fB.                                                                                                                                                                                   125
U
 zr
■B.
      EXTEND-IA     Standard (±IV                Required     >18      6 h to groin     Anterior       None      mRS score         Exclusion             No        CTA, MRA        CT/MRI
 0
                    r-tPA)-HStent retriever                             Complete       circulation                 0-1              criteria                                      mismatch
1
cT
                    vs Standard (±IV r-tPA)                               in8h
      REVASCAT      Standard (±IV                  Not    18-80(85) 8 h to groin         ICA/M1         >6       mRS score         Exclusion            >7         CTA, MRA,    CT perfusion,
t                   r-tPA)+stent retriever
                    vs standard (±IV r-tPA)
                                                 required                                                          0-1              criteria        (noncontrast
                                                                                                                                                        CT)
                                                                                                                                                                     DSA        CTA source,
                                                                                                                                                                                 or MRI-DWI
TO
                                                                                                                                                    >6 (MRI-DWI)                 required if
O
w                                                                                                                                                     >8 (age                      >4.5 h
O
3                                                                                                                                                    >81-85 y)
          ASPECTS indicates Aiberta Stroke Program Eariy CT Score; CT, computed tomography; CTA, computed tomography angiography; OSA, digitai subtraction angiography; DWI,
      diffusion-weighted imaging; ESCAPE, Endovascuiar Treatment for Smail Core and Anterior Circuiation Proximai Occiusion With Emphasis on Minimizing CT to Recanaiization Times;
      EXTEND-IA, Extending the Time for Thromboiysis in Emergency Meuroiogicai Deficits-intra-Arteriai; iA, intra-arteriai; iAT, intra-arteriai therapy; iCA, internai carotid artery; IMS ili.
      Interventional Management of Stroke Trial III; IV, intravenous; MCA, middle cerebral artery; MERCI, Mechanical Embolus Removal in Cerebral Ischemia; MR, magnetic resonance;
      MR CLEAN, Multicenter Randomized Clinical Trial of Endovascular Treatment for Acute Ischemic Stroke; MR RESCUE, MR and Recanaiization of Stroke Clots Using Embolectomy;
      MRA, magnetic resonance angiography; MRI, magnetic resonance imaging; mRS, modified Rankin scale; NIHSS, National Institutes of Health Stroke Scale; r-tPA, recombinant
      tissue-type plasminogen activator; REVASCAT, Endovascular Revascularization With Solitaire Device Versus Best Medical Therapy in Anterior Circulation Stroke Within 8 Hours;
      SWIFT PRIME, Solitaire FR With the Intention for Thrombectomy as Primary Endovascular Treatment of Acute Ischemic Stroke; and UK, urokinase.


      outcome between those treated <90 minutes and those treated                                     Penumbra device with optional intra-arterial r-tPA). Onset to
      >90 minutes from intravenous r-tPA to groin puncture. The                                       groin puncture in the endovascular group was 381 ±74 min­
      proportion of patients with an mRS score of 0 to 2 at 90 days                                   utes (mean±SD). TICI grade 2b/3 recanaiization was achieved
      increased with increasing recanaiization.'^                                                     in 25% of the endovascular group. Among all patients, mean
          MR and Recanaiization of Stroke Clots Using                                                 mRS scores at 90 days did not differ between endovascular
      Embolectomy (MR RESCUE) was a PROBE, 2-arm superior­                                            and standard medical care, nor was endovascular therapy
      ity trial that enrolled 118 patients with large-artery occlusion                                superior to standttrd medical care in patients with a favorable
      and anterior circulation ischemic stroke within 8 hours who                                     penumbral pattern (mean score, 3.9 versus 3.4; P=0.23) or in
      were ineligible for intravenous r-tPA or had persistent vessel                                  patients with an unfavorable penumbral pattern' ' (mean score,
      occlusion after intravenous r-tPA. Patients were divided into 2                                 4.0 versus 4.4; P=0.32).
      subgroups by pretreatment CT or magnetic resonance imaging
      (MRI) into those with a favorable or those with an unfavor­                                     Studies With Primarily Stent Retrievers
      able penumbral pattern with the use of imaging criteria based                                   Five randomized controlled trials of endovascular ucatment
      on a previous study.Patients were randomly allocated 1:1                                        of acute ischemic stroke with primarily stent retrievers were
      to standard medical care or endovascular therapy (MERCI                                         carried out from 2010 to 2015 (Tables 2-4). The Multicenter
      [Mechanical Embolus Removal in Cerebral Ischemia] or                                            Randomized Clinical Trial of Endovascular Treatment for

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      Table 3. Selected Patient Characteristics for Recent Randomized, Clinical Trials of Endovascular Treatments for Acute
      Ischemic Stroke
                                                                                            Participants (Active/Controi)

                                                                                                                                                                          Time to
                                                                                                                                       Time Onset to      TICl Grade Reperfusion
                                    Age, .      NIHSS Score,                                            Device     Onset to IV r-tPA,  Groin Puncture,       2b/3       Mean±SD,
                                 Mean+SD        Median (IQR)                             ASPECTS,    Deployment in Mean±SD, Median       Mean±SD,       Recanalization, Median
      Study                       (IQR), y        [Range]            Territory, %       Median (IQR) Active Group     (IQR), min      Median (IQR), min        %        (IQR), min
      SYNTHESIS     181/181 66±11/67±11 13(9-17)/13                 88/94 anterior                           91%            165 (140-200)        225 (194-260)
      Expansion                •          (9-18)                                                        lA r-tPA alone                               to clot
                                                                                                              66%
                                                                                                        Device added
                                                                                                            34%
                                                                                                          14% stent
                                                                                                           retriever

      IMS III       434/222        69/68         17 [7-401/16       97/97 anterior     56.9%/59.0%    77%                   122+34/121 ±34           208±47                            325±52
                                                    [8-30]             (clinical)         (8-10)   41%IAr-tPA
                                                                                                            38% lA
                                                                                                        r-tPA+device
O
O
                                                                                                       21% device only
                                                                                                         1.5% stent
                                                                                                          retriever
g.    MR RESCUE       64/54        66±15          17(13-21)           ICA20/13                               95%                                     381 ±74
s’
                                                                      Ml 61/72                          58% MERCI
3
zr                                                                    M2 19/15                         22% Penumbra
■§                                                                                                       16% both
      MR CLEAN      233/267     66 (55-76)/       17(14-21)         1C ICA 0.4/1.1        9(7-10)/         83.7%             85(67-110)/         260(210-313)              59            332
3                                                 [3-301/18                                                                                                                           (279-394)
                                66 (56-76)                        ICA+M1 25.3/28.2        9 (8-10)      81.5% stent         87 (65-116)
F                                                  (14-22)          Ml 66.1/62.0                          retriever
                                                    [4-38]            M2 7.7/7.9                          IAT21%
a.
o
c                                                                   A1/A2 0.4/0.8
5
SD
OT
      ESCAPE        165/150     71 (60-81)/     16(13-20)/17 ICA+M1 27.6/26.5             9(8-10)/         91.5%            110 (80-142)/                                72.40
b                                70(60-81)         (12-20)   Ml/all M2 68.1/71.4          9(8-10)       72.7% stent         125(89-183)
                                                                 M2 3.7/2.0                               retriever
      SWIFT           98/98        65+13/        17(13-20)/        ICA 18.3/16.0          9(7-10)/       88.8%         110.5(85-156)/            224 (165-275)             88
n     PRIME                        66±11
Crt                                              17(13-19)           Ml 67/77             9 (8-10) All stent retriever 117 (80-155)
                                                                 '    M214/6
      EXTEND-IA       35/35       69±12//        17(13-20)/           ICA 31/31                              77%            127(93-162)/         210(166-251)              86            248

I                                  70+12


                                   66±11/
                                                  13(9-19)

                                                 17(14-20)/
                                                                      Ml 57/51
                                                                       M2 11/17
                                                                                                      All stent retriever   145 (105-180)                                             (204-277)


                                                                                                                                                                                         355
      REVASCAT      103/103                                            ICA 0/1            7(6-9)/            95%             118(90-150)/        269 (201-340)
g                                  67±10        ■ 17(12-19)         ICA+M1 26/27          8 (6-9)     All stent retriever    105 (86+138)                                             (269-430)
                                                                      Ml 65/64
                                                                       M2 10/8
         ASPECTS indicates Alberta Stroke Program Early CT Score; ESCAPE, Endovascular Treatment for Small Core and Anterior Circulation Proximal Occlusion With Emphasis on
      Minimizing CT to Recanalization Times; EXTEND-IA, Extending the Time for Thrombolysis in Emergency Neurological Deficits-Intra-Arterial; lA, intra-arterial; lAT, intra-arterial
      therapy; ICA, internal carotid artery; IMS III, Interventional Management of Stroke Trial III; IQR, interquartile range; IV, intravenous; MR CLEAN, Multicenter Randomized Clinical Trial of
      Endovascular Treatment for Acute Ischemic Stroke; MR RESCUE, MR and Recanalization of Stroke Clots Using Embolectomy; NIHSS, National Institutes ot Health Stroke Scale; r-tPA,
      recombinant tissue-type plasminogen activator; REVASCAT, Endovascular Revascularization With Solitaire Device Versus Best Medical Therapy in Anterior Circulation Stroke Within
      8 Hours; SWIFT PRIME, Solitaire FR With the Intention for Thrombectomy as Primary Endovascular Treatment of Acute Ischemic Stroke; and TlCI, Thrombolysis in Cerebral Infarction.




      Acute Ischemic Stroke (MR CLEAN) was a PROBE, 2-arm                                                to be possible. There were different specific exclusion criteria
      superiority trial that studied 500 patients with acute ischemic                                    for patients with coagulation abnormalities, previous ischemic
      stroke caused by an proximal intracranial occlusion in the ante­                                   stroke, ICH, or severe head trauma, depending on whether
      rior circulation (distal intracranial carotid artery, MCA [Ml or                                   intra-arterial fibrinolysis was contemplated. Patients who were
      M2], or anterior cerebral artery [A1 or A2]) established with                                      eligible in agreement with national guidelines received intrave­
      CTA, magnetic resonance angiography (MRA), or digital sub­                                         nous r-tPA. Those with a nonfavorable response were eligible
      traction angiography and a score of S2 on the NIHSS. The,                                        . for inclusion. There was no specified time for observation to
      steering committee recommended that neuroimaging studies                                           determine the response to intravenous r-tPA, nor was there an
      to assess vessel patency should preferably be done before or                                       exact definition of what constituted a nonfavorable response,
      simultaneously with treatment with intravenous r-tPA. Initiation                                   although recovery to a level that would not result in admin­
      of endovascular treatment within 6 hours of stroke onset had                                       istration of intravenous r-tPA was suggested. Patients were

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      randomly allocated 1:1 to either usual care alone or intra-arte­          interim analysis conducted earlier than planned showed that a
      rial treatment plus usual care. Intra-arterial treatment consisted        stopping criterion based on the prespecified O’Brien-Fleming
      of arterial catheterization with a microcatheter to the level of          stopping boundary had been crossed, and the trial was stopped.
      occlusion and delivery of a fibrinolytic agent, mechanical               For the primary end point, the adjusted OR (indicating the
      thrombectomy, or both. The method of intra-arterial treatment            odds of improvement of 1 point on the mRS) was 3.1 (95%
      was left to the discretion of the local interventionist. Sixty-four      Cl, 2.0-4.7) favoring endovascular intervention. The propor­
      percent of participants had Ml occlusion alone, and an addi­             tion of patients with an mRS score of 0 to 2 at 90 days was
      tional 27% had occlusion of Ml and the internal carotid artery           53.0% in the intervention group and 29.3% in the control group
      (ICA). Of the 195 patients in the endovascular group of 233              (P<0.001). Mortality at 90 days was 10.4% in the intervention
      who received endovascular treatment, onset to groin puncture             group and 19.0% in the control group (adjusted rate ratio, 0.5;
      was 260 minutes (interquartile range, 210-313 minutes), a stent          95% Cl, 0.3-0.8). The rate of sICH clinically detennined at the
      retriever was used in 81.5%, and TICI grade 2b/3 recanalization          study sites was 3.6% in the endovascular intervention group
      was achieved in 59%. The treatment effect was estimated as               and 2.7% in the control group (adjusted rate ratio, 1.2; 95%
      an odds ratio (OR), adjusted for prespecified prognostic factors         Cl, 0.3-M^.6). Of the 165 participants randomized to endovascu­
      that intra-arterial treatment would lead to lower mRS score at           lar intervention, retrievable stents were used in 130 of the 151
      90 days, compai'ed with usual ctire alone (shift analysis). The          (86.1 %) who underwent an endovascular procedure. TICI grade
      adjusted OR was 1.67 (95% confidence interval [Cl], 1.21-                2b/3 recanalization was observed in 72.4% in the endovascu­
      2.30) in favor of intervention. There was an absolute difference         lar group. In subgroup analysis, similar benefit was observed
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      of 13.5% (95% Cl, 5.9-21.2) in the rate of functional indepen­           in the 235 patients who received intravenous r-tPA (OR, 2.5;
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      dence (mRS score, 0-2) in favor of the intervention (32.6% ver­          95% Cl, 1.6-4.0) and the 76 who did not (OR, 2.6; 95% Cl,
D-
      sus 19.1%). There were no significant differences in mortality            1.1- 5.9). Only 49 participants (15.5%) underwent randomiza­
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      or the occurrence of sICH. Most patients (445 of 500) received
      intravenous r-tPA and showed benefit in subgroup analysis.
                                                                               tion ^6 hours after symptom onset, too few to assess efficacy in
                                                                               the 6- to 12-hour time window.'*
      There were too few patients who did not receive intravenous                   Solitaire FR With the Intention for Thrombectomy as
      r-tPA to draw any conclusions.*-^ In a subsequent presentation           Primary Endovascular Treatment of Acute Ischemic Stroke



1
      at the 2015 International Smoke Conference, the MR CLEAN                 (SWIFT PRIME) was a PROBE-design rtial that randomized
      investigators reported a stroke onset-to-repeifusion time of              196 patients with acute ischemic stroke and NIHSS scores of 8
      332 minutes (interqutirtile range, 279-394 minutes) and dem­             to 29 who received intravenous r-tPA within 4.5 hours of onset
      onstrated a marked decline in clinical benefit with time so that         and had CTA or MRA confirmation of intracranial ICA, Ml.
      the benefit was no longer statistically significant if reperfusion       or carotid terarinus occlusion. If CTA or MRA was part of the
      occuired after 6 hours 19 minutes.'^                                     local standard of care, it was performed at initial evaluation
TO
           The Endovascular Treatment for Small Core and Anterior              before intravenous r-tPA was started; if not, it was peifonried
CD
Crt
      Circulation Proximal Occlusion With Emphasis on Minimizing               after review of the initial imaging and signing of informed con­
      CT to Recanalization Times (ESCAPE) was a PROBE, 2-arm                   sent. Groin puncture had to be possible within 6 hours of stroke
      superiority trial of 316 patients with disabling acute ischemic          onset. There were excl usion criteria for coagulopathies. Initially,
      stroke (NIHSS score >5) who could be randomized up 12                    CT perfusion or multimodal MRl was required, and enrollment
      hours after the onset. Groin puncture had to be possible within          was restricted to patients with the target mismatch profile (as
      60 minutes of CT/CTA. Nonenhanced CT and CTA (prefer­                    a.ssessed by specialized softyvare"') and defined as follows: The
2     ably multiphase) were performed rapidly with a target door-              ischemic core lesion measured ^50 mL; the volume of tissue
OO,

      to-imaging time of 25 minutes to identify participants with a            with a time to maximum delay of >10 .seconds was ^100 mL;
      small infarct core (by Alberta Stroke Program Early CT Score             the mismatch volume was at least 15 mL; and the mismatch ratio
      [ASPECTS]''' 6-10 or CT perfusion), an occluded proximal                 was >1.8. Midway through the trial, the inclusion criteria were
      intracranial artery in the anterior circulation (internal carotid.       modified to accommodate sites with limited perfusion imaging
      Ml MCA, or >2 M2s), and moderate to good collateral cir­                 capability. Sites with perfusion imaging were encouraged to
      culation defined as “the filling of 50% or more of the middle-           continue to use the target mismatch criteria. Sites without.per­
      cerebral artery pial arterial circulation on CTA (preferably on          fusion imaging used ASPECTS (ASPECTS >6 was required).
      multiphase CTA).” There were no exclusions for coagulopathy,             A total of 71 patients were enrolled under the initial imaging
      prior stroke, or head ti'auma. Fifty-eight patients received intra­      entry criteria and 125 patients under the revised imaging entry
      venous r-tPA at a community hospital and then were transferred           criteria. Perfusion imaging was performed and used for selea-
      to an ESCAPE endovascular center. Participants were randomly             tion in 82.6%. Seventy-three percent of participants had Ml
      assigned 1:1 to receive guideline-based care alone or guideline-         occlusion, and 17% had ICA occlusion. Intravenous r-tPA was
      based care plus endovascular treatment with the use of available         administered at an outside hospital in 35%'. Participants were
      thrombectomy devices. The use of retrievable stents and suction          randomized I;1 to treatment with intravenous r-tPA alone or
      through a balloon guide catheter during thiombus retrieval was           to treatment with intravenous r-tPA followed by neurovascular
      also recommended. Participants in both groups received intra­            thrombectomy with the use of a stent retriever. After the results
      venous r-tPA within 4.5 hours after onset if they met accepted           of the MR CLEAN trial and the passing of stopping boundar­
      local guidelines. The primary outcome was the OR that the                ies in the ESCAPE trial were announced, a decision was made
      intewention would lead to lower scores on the mRS at 90 days             to conduct the first interim efficacy analysis a little earlier than
      (shift analysis). After the release of the MR CLEAN results, an          originally planned. The results of this interim efficacy analysis

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      Table 4.       Selected Clinical Outcomes for Recent Randomized, Clinical Trials of Endovascular Treatments for Acute Ischemic Stroke
                                                                                                           Outcomes



                                           Primary End Point                                Death (90 d/3 mo)                             Symptomatic ICH                             mRS 0 to 2 at 90 d
                                             Active, Control,                     Active.     Control,                             Active,      Control,                    Active,        Control,
           Study                                                 Comparison                                Comparison       Time                            Comparison                                       Comparison
                                                %       %                           %            %                                   %             %                          %               %
      SYNTHESIS                                30.4    34.8          0.71          14,4         9.9         P=0.22          7d        6            6           P=0.53        42.0            46.4
                          mRS 0 to
      Expansion
                          1 at 3 mo                             (0.44 to 1.14)*




                                               40.8    38.7          1.5           19.1        21.6         P=0.52                  6.2           5.9          P=0,83        40,8            38.7                1.5
      IMS III             mRS 0 to                                                                                          30 h
                          2at90d
                                                                  (-6 to 9)t                                                                                                                                 {-6 to 9)t



                                                3.9     3.9        p=Q.m            19          24          P=0.75          7d       5             4           P=Q.2A         19              20
      MR RESCUE           Mean mRS
                                                                     1.67           21          22                                  7.7           6.4                        32.6            19.1               2.16
      MR CLEAN      Improvement in mRS                                                                                      90 d
                    at 90 d (shift analysis)                    (1.21 to 2.3)*                                                                                                                             {1.39 to 3.38)*
a
o



S.
?3    ESCAPE            improvement                                  3.1           10.4         19            0.5                   3.6           2.7            1.2,         53             29.3                1.7
=r                                                                                                                          90 d
■f                       mRS at 90 d                             (2.0 to 4.7)'                           (0.3 to 0.8)§                                      (0.3 to 4.6}§                                   (1.3to2.2)§
                        (shift analysis)
3
p
k.
a.
o     SWIFT PRIME      Improvement in
                                                                   P<0.001          9           12           0.74
                                                                                                                            27 h
                                                                                                                                     0             3                         60               35                 1.7
c                                                                                                       (0.33to1.68)ff
5as                      mRS at 90 d                                                                                                                                                                       (1.23 to 2.33}#
                      5 and 6 combined

t     EXTEND-IA
                        (shift analysis)

                                                100     37           4.7            9           20           0.45                    0             6                          71              40                4.2
                     Median reperfusion                                                                                     36 h                            -6 (-13 to 2)
                                                                                                         (0.1 to 2.1)*'                                                                                     (1.4to12)‘
fb                        at 24 h                                (2.5 to 9.0)*
                                                80      37            6.0
                    Decrease in NIHSS 8
                    OF NIHSS 0,1 at 3d                          (2.0 to 18.0)*
      REVASCAT                                                        1.7           18          16           1.2                     2             2                        43.7             28.2               2.1
                       Improvement in                                                                                       90 d                                  1-0 .
                        mRS at 90 d                             (1,05 to 2.8)*                          (0.6 to 2,2)tt                                      (0-1 to7,0)tt                                  {1.1 to 4.0)1!
>3
                      5 and 6 combined
                        {shift analysis)
                                                                                                                                                                                                             [Continued)
o

         ASPECTS indicates Alberta Stroke Program Early CT Score; EC, extracranial; ESCAPE, Endovascular Treatment for Small Core and Anterior Circulation Proximal
      Occlusion With Emphasis on Minimizing CT to Recanalization Times; EXTEND-IA, Extending the Time for Thrombolysis in Emergency Neurological Deficits-Intra-Arterial;
      ICA, infernal carotid artery; ICH, intracerebral hemorrhage; IMS III, Interventional Management of Stroke Trial III; IV, intravenous; MR CLEAN, Multicenter Randomized
      Clinical Trial of Endovascular Treatment for Acute Ischemic Stroke; MR RESCUE, MR and Recanalization of Stroke Clots Using Embolectomy; mRS, modified Rankin scale;
      NIHSS, National Institutes of Health Stroke Scale; r-tPA recombinant tissue-type plasminogen activator; REVASCAT, Endovascular Revascularization With Solitaire Device
      Versus Best Medical Therapy in Anterior Circulation Stroke Within 8 Hours; SWIFT PRIME, Solitaire FR with the Intention for Thrombectomy as Primary Endovascular
      Treatment of Acute Ischemic Stroke; T, terminus (of the internal carotid artery); and TiCI, Thrombolysis in Cerebral Infarction.

      demonstrated that the prespecified criteria for stopping the trial                                                  eligible with the use of “standai'd criteria” to receive intravenous
      at the first interim analysis were met. The 2 simultaneous suc­                                                     r-tPA within 4.5 hours of stroke onset were randomized in a
      cess criteria used for the primary end point were both in favor of                                                  PROBE design to receive either intravenous r-tPA only or intra
      endovascular intervention: improved distribution (shift analysis)                                                   venous r-tPA plus endovascular therapy with a stent retriever
      of mRS score at 90 days (P<0.001) and increased proportion                                                          Groin puncture had to be within 6 hours, and endovascula
      with mRS score of 0 to 2 at 90 days (60% in the endovascular                                                        treatment had to be completed within 8 hours after stroke onset
      group and 35% in the nonendovasculai- group: risk ratio, 1.70;                                                      CT or MRI had to be performed before intravenous r-tPA was
      95% Cl, 1.23-2.33). There were no significant differences in                                                        started. Occlusion of the ICA, Ml, or M2 on CTA was requii ed
      death or sICH. TICI grade 2b/3 recanalization was observed in                                                       In addition, CT or MRI perfusion imaging had to show a mis
      88% of the endovascular group.-”                                                                                    match ratio of >1.2, an absolute mismatch volume of >10 mL
           The Extending the Time for Thrombolysis in Emergency                                                           and an infarct core lesion volume of <70 mL as assessed with
      Neurological Deficits-Intra-Arterial (EXTEND-IA) was simi­                                                          specialized .software.'” There were specified exclusion criteria
      lar in design to SWIFT PRIME. Seventy participants who were                                                         for coagulopathies. Occlusion of the ICA and Ml was present

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     Table 4.         Continued
                                                                                                                             Outcomes

                iV r-tPA
               Subgroups                                                                                                                                                                                         Vessel Subgroups
                                                      Time Subgroups                          ASPECTS Subgroups                     NIHSS Subgroups                      Age Subgroups
        iV                                                                                                                                                       Age,
      r-tPA    n     Comparison            Time            n      Comparison        ASPECTS       n      Comparison                    n       Comparison          y        n     Comparison         Vessel           n      Comparison
                                                                                                                          NIHSS .
      None                                                161          0.79                                                <11        129          0.57          ^67       153         1.13          /toterior       330         0.77
                                        0 to 3 h to
                                        treatment
                                                                 (0.33 to 1.88)'                                                              (0.27 to 1.2)'                     (0.54 to 2.37)'                            (0.47 to 1.27)*
                                                          156         0,88                                                 ^11        233         0.82           >67       209        0.52          Posterior         29         0.35
                                         3 to 4.5 h
                                                                  (0.4 to 1.92)'                                                             (0.43 to 1.57)'                     (0.27 to 1.10)'                            (0.05 to 2.56)*
                                                          28          0.78
                                          >4.5 h
                                                                 (0.03 to 22.1)'
       All                                                345         1.24          8to10        378        1.03                      452         1.01           18“65     270        1.07          '!CA,M1,         220         1.05
                                        <:120 min                                                                         8 to 19
                                        toWi-tPA                 (0.88tOl.74)t                         {0.79to1.34)t                         (0.78to1.31)t                        (0.7to1.48)T
                                                                                                                                                                                                    or basilar              (0.67 to 1.64)$
                                                          310         0.88           0to7        271        1.12           ^20        204         1.37           ^66       386         1.10
                                        >120 min
                                                                 (0.6tOl.24)1:                         (0.67to1.87)t                         (0.63to2.99)t
                                                                                                                                                                                  (0.69 to 1.5}$


      Yes     A45         1.71                            51           1.57                      376         1.61                     164          1.71          <80       419        1.6             1CAT           134         2.43
                                        <120 min to                                 8 to 10                               2 to 15
                                       randomization                                                                                                                             (1.13to2.28)'
                    (1.22 to 2.40)'                              (0.51 to 4.85}'                       (1.11 to 2.34)*                       (0.96 to 3.02)'                                                                (1.24 to 4.77)'
       No     55         2.06                            449          1.69                       92         1.97          16to19      153          1.5           ^80       81        3.24           NolCAT           366         1.61
S’                                      ^120 min                                     5 to 7
                    (0.69 to 6.13)'                              (1.21 to 2.38)*                       (0.89 to 4.35)'                       (0.84 to 2.67)'                     (1.22 to 8.62)'                            (1,11 to 2.33)*
3
                                                                                     0to4        28         1.09           :^20       183         1.85                                               EClCA           146         1.43
0

                                                                                                       (0.14 to 8.46)'                       (1.06 to 3.21)'                                                                (0.78 to 2.64)*
                                                                                                                                                                                                    NoECICA          354         1.85

1
3
=T
      Yes     238        ,2.5
                                        ^180 min to
                                                                        2.6
                                                                                    8 to 10
                                                                                                             2.6          6to19
                                                                                                                                                 ■ 2,6
                                                                                                                                                                 S80                   2.7            1CA+
                                                                                                                                                                                                                            (1.26 to 2.72)*
                                                                                                                                                                                                                                  2.6
                                       randomization
                     (1.6 to 4.0) II                              (1.5 to 4.5) 11                       (1.7t0 4.1)ll                         (1.6 to 4.2) 11                     (1.7 to 4.3) II                           (1.2 to 5.9)11
       No     77          2.6                                          2.5            <8                     2.7           >19                     2.4           >80                   3.0                                       2.7
                                        >180 min                                                                                                                                                     No ICA
3                    (1.1 t0 5.9)|i                               (1.4 to 4.5)1!                        (1.0 to 7.2)1!                        (1.1 to5.3)ij                       (1.3 to 6.8) [|                           (1.7 to 4.4) [j
                                           >6h            49           1.7
S'
b
                                                                   (0.7 to 4.0)
,s     Ail                                                96           1.62                      142        1.62           ^17        110          1.49          <70       106        1.67             ICA           30          2.04
                                        <189 min to                                 8 to 10
                                       randomization                                                   (1.17to2,24)"                                                             (1.13to2.47)"
                                                                 (1.08 to 2.42)"                                                             (1.05 to 2.11)"                                                               (0,67 to 6.21)”
                                                          94           1.77                      43         1.98           >17        80          2.21           S70       83         1.78             Ml            133         1.74
                                        ;s189 min                                    6 to 7
F                                                                (1.07 to 2.93)"                       (0.73 to 5.33)"
                                                                                                                                             (1.I7to4.19)'*
                                                                                                                                                                                 (1.03 to 3.09)"                           (1.23 to 2.46)”

       All

S

      Yes     150          1.4                           135.           1.8           ^8         105         2.2          6to16       92            1.5          <70       121        2.5              Ml            135         1.2
                                         ^4.5 h to .
                                       randomization                                                                                                                              (1.3to4.6)it
                    (0.8 to 2.6) i|                               (1.0 to 3,4) It                       (1.1 to 4.4) II                     ' (0.7 to 3.1)11                                                                (0.7 to 2.2) [j
■3     No     56         2.7                              71           1.4            <8         101          1,4          ^17       114           2.0           ^70       85          0.9
hJ                                        >4.5 h
                    (1.0to7.1)|i
                                                                  (0.6 to 3,3)|I                        (0.7 to 2.9)11                        (1.0 to 4.0)11                      (0.4 to 2.0)11
o

       (Continued). ‘Adjusted odds ratio (95% confidence interval [Cl]).
       tAdjusted difference, 95% Cl.
       tRelative risk, 99% Cl.
       §Adjusted rate ratio, 95% Cl.
       llOddsratio, 95%CI.
       #Risk ratio, 95% Cl.
       “Relative risk, 95% Cl.
       ttAdjusted risk ratio, 95% Cl.

     in 31% and 54%, respectively. The coprimary outcomes were                                                            at a median of 210 minutes (interquartile range, 166-251
     repeifusion at 24 hours and early neurological improvement                                                           minutes) after the onset of stroke, increased early neurologi­
     (S8-point reduction on the NIHSS or a score of 0 or I at day                                                         cal improvement at 3 days (80% versus 37%; P=0.002). More
     3). The raRS score at 90 days was a secondary outcome. After                                                         patients achieved Ixinctional independence in the endovascular
     the release of the MR CLEAN results, an unplanned interim                                                            group (score of 0 to 2 on the mRS, 71% versus 40%; P=0.01).
     efficacy analysis was implemented on the, basis of a Haybittle-                                                      There were no significant differences in rates of death or sICH.
     Peto stopping rule. The results of the interim analysis showed                                                       Recanalization to TICl grade 2b/3 was achieved in 86% of
     that the stopping criteria for efficacy were met, and the trial was                                                  patients in the endovascular group at a median of 248 minutes
     halted. The percentage of ischemic territory that had undergone                                                      (interquartile range, 204—277 minutes) after stroke onset.-'
     reperldsion at 24 hours was greater in the endovascular ther­                                                            Endovascular Revascularization With Solitaire ■ Device
     apy group than in the inti'avenous r-tPA-only group (median,                                                         Versus Best Medical Therapy in Anterior Circulation Stroke
     100% versus 37%; P<0.001). Endovascular therapy, initiated                                                           Within 8 Hours (REVASCAT) was a PROBE-design trial

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      randomizing 206 patients with acute ischemic stroke and an             shown that clinical outcome improved with increasing effec­
      NIHSS score of ^6 who had intracranial ICA or Ml occlusion             tiveness of recanalization. Those with partial recanalization
      by CTA, MRA, or digital subtraction angiography. Patients               (TICI grade 2a) did not do as well as those with nearly com­
      who had received intravenous r-tPA were eligible if there was           plete or complete recanalization (TICI grade 2b/3) reflected
      no significant neurological improvement (criteria specified in         as both differences in discharge disposition (41.0% of the
      the protocol) at 30 minutes after initiation of the inlnsion and       TICI grade 2b/3 group discharged home versus 17.4% of the
      vascular imaging at this time confirmed an eligible occlusion.         TICI grade 2a group) and functional outcome (34% with a
      Groin puncture had to be possible within 8 hours of stroke             TICI grade of 2a had an mRS score of 0 to 2 at 90 days versus
      onset. There were exclusion criteria for coagulopathies. The           49% with a TICI grade of 2b/3).TICI grade 2b/3 recanali­
      main exclusion criteria on imaging were ASPECTS of <7 on               zation was achieved in 59% to 88% of endovascularly treated
      nonenhanced CT or <6 on diffusion-weighted imaging-MRI.                subjects in the 5 stent retriever trials, whereas in the previ­
      After the enrollment of 160 patients, the inclusion criteria were      ous 3 studies, the rate had been 25% to 41%, as mentioned
      modified to include patients up to the age of 85 years (ini­           above. All 5 stent retriever studies showed clinical benefit in
      tially, 80 years was mtiximum allowed) with an ASPECTS of              the endova.scular group.
      >8. Twenty-six percent had ICA occlusion, and 65% had Ml                    Of the 5 stent retriever trials, MR CLEAN, ESCAPE, and
      occlusion. Participants were randomized 1:1 to receive either          SWIFT PRIME permitted use of salvage intra-arterial fibrino­
      medical therapy alone or thrombectomy with a stent retriever.          lytic drugs, whereas EXTEND-IA and REVASCAT did not.
      Intravenous r-tPA was administered to 73%. When results of             These data do not establish the benefit of intra-arterial fibri­
      other similar trials became known, the Data Safety Monitoring          nolytic salvage, nor can they establish lack of benefit. Such
      Board recommended the recruitment be stopped because the               salvage techniques may be reasonable to use in some chnical
I     emerging results showed that equipoise was lost, although the
      interim results did not reach the prespecified stopping boundar­
                                                                             circumstances.
                                                                                  The MR RESCUE trial enrolled patients up to 8 hours
      ies. The masked steering committee agreed. Becau.se just 1, anal­      from symptom onset and showed no benefit from endovas­




I
      ysis was perfomred,, adjustment for multiple comparisons was           cular therapy with first-generation devices regardless of pen-
      no longer performed, and 95% CIs were reported. The primary            umbral imaging pattem. Three of the 5 stent retriever studies
      outcome analysis showed a common OR of improvement in the              specified a 6-hour window after stroke onset (2 specified 6
      distribution of the mRS score (shift analysis) favoring endovas­       hours to groin puncture; the third specified 6 hours to start
      cular treatment (adjusted OR, 1.7; 95% Cl, 1.05-2.8). The pro­         treatment). Aggregate data from REVASCAT and ESCAPE
      portion of patients with an mRS score of 0 to 2 at 90 days was         with treatment permitted out to 8 and 12 hours show a benefit,
      43.7% in the intervention group and 28.2% in the control group         but ESCAPE enrolled too few patients after 6 hours to provide
QS_
      (adjusted OR, 2.1; 95% Cl, 1.1-4.0). There were no significant,        useful data, and REVASCAT provides no data about patients
'c    differences in death or slCH. Ninety-five percent of those in the      who underwent groin puncture between 6 and 8 hours. How-
I     endovascular group underwent thrombectomy. TICI grade 2b/3
      recanalization was observed in 66% of the endovascular group.
                                                                             much the overall positivity in these 2 trials w'as completely
                                                                             driven by those treated at shorter times is unknown at this
      Across the prespecified subgroups, there were no significant           time. The only time-dependent data are from the MR CLEAN
•5    interactions according to NIHSS score, vessel occlusion site,          presentation, which are not consistent with a benefit of treat­
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L/1   baseline ASPECTS, administration of intravenous r-tPA, age,            ment beginning after 6 hours. It will take patientdevel meta­
      or time of randomization, although for time of randomization           analyses to sort this out.
      dichotomized at 4.5 hours; the P value for interaction was 0.9              Every or nearly every patient in the 5 stent retriever studies
      with the latter group doing worse. No data are given for those         first received intravenous r-tPA, Only REVASCAT stipulated
      who underwent groin puncture after 6 hours.--                          the specific guidelines to be used to determine intravenous
                                                                             r-tPA eligibility (“guidelines provided by the European Stroke
                     Analysis and Conclusions                                Organiziition”). EXTEND-IA refers to “standard criteria," tind
      None of the 3 earlier studies carried out with primarily intra­        the 3 other trials used “national guidelines.” Because it is not
      arterial fibrinolysis or first-generation mechanical embolec-          the purpose of this update is to address eligibility criteria for
      tomy devices showed a benefit of endovascular treatment                intravenous r-tPA, we have used the phrase “guidelines from
      over intravenous r-tPA in intravenous r-tPA-eligible patients          professional medical societies” to address this issue in our rec­
      either as a substitute for initial treatment (SYNTHESIS                ommendations. Too few data are available from the small num­
      Expansion) or as subsequent intervention in those with per­            ber of those who did not receive intravenous r-tPA, for either
      sistent large-artery occlusion after intravenous r-tPA (IMS III        time-based or non-time-based exclusion criteria, to determine
      andMR RESCUE). MR RESCUE also showed no benefit for                    with certainty whether there are characteristics that identify
      other patients treated within 8 hours even if selected by mul­         those who benefited from endovascular treatment. Two trials
      timodal neuroimaging criteria. These studies, using almost             (MR CLEAN and REVASCAT) stipulated waiting for a period
      exclusively intra-arterial r-tPA and first-generation endovas­         of time after beginning the administration of intravenous r-tPA
      cular devices alone or in combination, achieved recanaliza­            before proceeding to endovascular therapy, whereas 3 trials
      tion rates of 27% to 41%. The subsequent trials using stent            (ESCAPE, SWIFT PRIME, and EXTEND-IA) did not. On the
      retrievers almost exclusively demonstrated improved results            basis of these data, a waiting period is not necessary to achieve
      for both recanalization rates and outcome. Studies have                beneficial outcome in these patients.

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           All of these studies enrolled participants ^18 years of          uncertain, and further randomized, controlled trials are war­
      age. There are no randomized trials of endovascular therapy           ranted. An ASPECTS >6 was the minimum score used in 2
      in patients <18 years of age. Ischemic stroke resulting from         trials, thus fulfilling the AHA’s Level of Evidence grading
      large-vessel occlusion is rare in children and young adults          algorithm for Level A evidence.
      relative to older individuals, posing challenges to rigorous              Each of the 5 stent retriever trials used different strategies
      study of this clinical scenario. Case reports and case series        of imaging-based selection criterion in addition to nonen-
      have documented that high rates of recanalization and favor­         hanced CT or MRI. Common to all was required demonstra­
      able outcomes in young patients can be achieved with endo­           tion, usually with a noninvasive vessel imaging study (CTA
      vascular therapy,^''”^* Ideally, appropriate trials would be         or MRA), of a large-vessel occlusion before randomization.
      done to test the efficacy of endovascular therapy in young           MR CLEAN and REVASCAT also allowed digital subtrac­
      patients. Studies in the United States, the United Kingdom,          tion angiography screening to identify a target occlusion.
      Australia, and Canada have shown median times from onset             Two trials required noninvasive imaging to be performed at
      of symptoms to initial brain imaging for pediatric stroke            initial evaluation before intravenous r-tPA was started (com­
      of 8.8 to 16 hours.-’ This problem of diagnostic delay will          bined occurrence of no clot at endovascular intervention in
      need to be addressed if trials of endovascular treatment for          12 of 200 [6.0%]); a third recommended the same (no clot at
      acute ischemic stroke are to be conducted successfully in this       endovascular intervention in 8 of 233 [3.4%]); and a fourth
      population.                                                          stipulated that it be done at all centers for which this was
           Four stent retriever trials used NIHSS scores as eligibility    part of local standard of care but otherwise after consent
      criteria (>2, >5, 8-29, and >5), and the fifth enrolled patients     was obtained (no clot at endovascular intervention in 7 of 98
o     with a similar distribution of NIHSS scores. From these tri­          [7.1%]). REVASCAT stipulated that the imaging study must
S.    als, there are insufficient data in patients with NIHSS scores       be completed no more than 90 minutes but ideally within 60
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      <6 to determine whether there is an overall net benefit from         minutes before groin puncture, and for patients who received
      endovascular therapy in this population. Further randomized          intravenous tPA, an imaging study assessing vessel patency
      trials in patients with low NIHSS scores may be wawanted. An         must be obtained at a minimum of 30 minutes after that start
      NIHSS score of 26 was the minimum score used in 2 trials,            of intravenous r-tPA infusion (no clot at endovascular inter­




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      thus fulfilling the AH A’s' Level of Evidence grading algorithm
      for Level A evidence.
          Four of the 5 stent retriever trials used a prestroke function
      eligibility criterion. REVASCAT and SWIFT PRIME used a
      prestroke mRS score of 0 to 1; EXTEND-IA used mRS scores
      of 0 to 2; and ESCAPE used Barthel scores of 290 to 100. MR
      CLEAN did not set a threshold and did not provide data on
                                                                           vention in 5 of 103 [4.9%]). The REVASCAT strategy did
                                                                           not result in a decrease in the number who failed to have a
                                                                           clot present at the time of endovascular intervention com­
                                                                           pared with the other studies. The goal of intravenous r-tPA
                                                                           and of endovascular therapy is to recanalize the occluded
                                                                           vessel as soon as possible. After the initiation of intravenous
                                                                           r-tPA, some patients will experience successful recanaliza­
(TO
      prestroke function. Thus, there are good data from 4 trials for      tion, obviating the need to pursue follow-on endovascular
i     patients with good baseline function (including 2 that required      therapy.’* However, because recanalization occurs in only
      an mRS score of 0 to 1) and very few data for those without          a minority of patients with large-vessel occlusion receiving
      good baseline function.                                              intravenous r-tPA alone (eg, 37.3% in the ESCAPE trial),
           All 5 stent retriever studies required baseline nonen-          noninvasive intracranial vascular imaging should proceed
      hanced CT or MRI. MR CLEAN did not use a specific                    without delay before or immediately after initiation of r-tPA
      ASPECTS criterion for eligibility; it was the only positive          to identify the majority of patients who will benefit from fol-
      trial that permitted enrollment of patients with ASPECTS             low-on endovascular therapy and to expedite its performance.
      <6. Although the treatment effect in that trial favored inter­       This approach was explicitly taken by investigators in the
      vention in all 3 ASPECTS subgroups of 0 to 4 (28 patients),          ESCAPE trial, helping them achieve a median CT-to-groin
      5 to 7 (92 patients), and 8 to 10 (376 patients), the point          puncture time of only 51 minutes.
      estimate in the subgroup with an ASPECTS of 0 to 4 was                    The ESCAPE, EXTEND-IA, and SWIFT PRIME trials
      close to unity with wide CIs (adjusted common OR, 1.09;              were initially designed with the intent to select and enroll only
      95% Cl, 0.14-8.46). In the ESCAPE trial secondary analy­             patients with small regions of ischemic cores and the presence
      ses based on ASPECTS, the risk ratio favoring intervention           of salvageable brain tissue (SWIFT PRIME and EXTEND-IA)
      was 2.6 (95% Cl, 1.7-4.1) for patients with an ASPECTS               and/or adequate collateral flow (ESCAPE). In ESCAPE, non-
      of 8 to 10 and 2.7 (95% Cl, 1.0-7.2) for those with a score          enhanced CT and CTA (preferably multiphase) were used
      of 6 to 8. EXTEND-IA did not report secondary analyses               to select patients with a target occlusion, small infarct core
      based on ASPECTS. SWIFT PRIME reported similar ben­                  (ASPECTS 6-10), and moderate to good collateral circula­
      efit for tho.se with ASPECTS of 8 to 10 (OR, 1.62; 95%               tion (filling of 250% pial arterial circulation visualized on
      Cl, 1.17-2.24) and 6 to 7 (OR, 1.98; 95% Cl, 0.73-5.33),             CTA). EXTEND-IA required demonstration of potentially
      although the small number of 43 patients in the latter group         salvageable brain tissue on perfusion CT (mismatch ratio of
      produced wide confidence bounds. REVASCAT reported                   >1.2, absolute mismatch volume of >10 mL) and ischemic
      greater benefit for those with ASPECTS >8 (OR, 2.2; 95%              core <70 mL (relative cerebral blood flow <30% of normal).
      Cl, 1.1-4.4) than for those with ASPECTS <8 (OR, 1.4;                All images were processed on site with a specialized software
      95%' Cl, 0.7-2.9). On the basis of these data, the benefit           package.’’ Penumbral tissue was defined as regions with time-
      from endovascular therapy in patients with ASPECTS <6 is             to-maximum (Tmax) perfusion values >6 seconds that were

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      not included in the ischemic core. SWIFT PRIME excluded                   catheter, or cervical guide catheter alone or in conjunction
      patients with evidence of frank ischemia in greater than one              with stent retrievers. The concomitant use of distal-access
      third of the MCA tenitory or involving >100 mL of tissue.                 suction catheters during stent retilever mechanical throm­
      For the first 71 patients enrolled, an additional inclusion cri­          bectomy has been described in retrospective case series.
      terion was the presence of target mismatch defined as infarct             The advantages of the combined stent-a,$piration technique
      core ^50 mL (as assessed by specialized software'^) and isch­             include a flexible large-bore catheter in a triaxial technique,
      emic penumbra 2:15 mL with a mismatch ratio >1.8. After the               which provides stability for the stent-retriever; flow reversal
      enrollment of the first 71 patients, the investigators switched to        to prevent distal embolization during stent retrieval of the
      the criterion to ASPECTS of ^6 for sites that did not have CT             thrombus; and the potential synergistic effect of both tech­
      perfusion capability.. To date, subgroup analyses with the vari­          niques of suction aspiration and stent retrieval used simulta­
      ous imaging criteria have not been published. In these dials,             neously.^”' Clinical experience has shown the combination
      the use of advanced imaging selection criteria had the potential          of balloon guide catheters or distal-acces.s/aspiration cath­
      advantage of increasing the likelihood of showing treatment               eters and stent retrievers to provide rapid, effective, and safe
      benefit by enhancing the study population with patients most              recanalization
      likely to respond to therapy. However, the inherent disadvan­                  All the stent retriever trials allowed the inclusion of patients
      tage of this study design is the possibility that patients who            with proximal cervical carotid stenosis, and all but 1 trial
      may have responded to therapy were excluded. In contrast, the             allowed the inclusion of patients with complete atherosclerotic
      MR RESCUE tri'cd was designed specifically to validate imag­              cervical civrotid occlusion (SWIFT PRIME). One difficulty
      ing biomarkers as a selection tool for endovascular therapy.              with this exclusion is that differentiating complete cervical
o     However, the trial was unable to demonstrate an overall benefit           cai'otid occlusion from a distal ICA occlusion is often not pos­
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■s’
      from endovascular therapy with first-generation devices or in             sible on CTA or MRA.” The number of patients with cervical
      the subgroup with a favorable penumbral pattern. None of the 5            carotid occlusion or stenosis was not consistently reported but
3
      stent retriever studies was designed to validate the utility of the       was substantial, ranging from 18.6% (REVASCAT) to 32.2%
      advanced imaging selection criteria themselves in either the              (MR CLEAN). Stenting of the underlying stenosis or occlu­
      early or late time windows. Thus, the role of these techniques            sion was discouraged in the ESCAPE protocol. Thirty of the


1     for patient selection requires further study.
          The overwhelming majority of patients in the stent
      retriever trials had ICA or proximal MCA (Ml) occlusion.
      The number of patients with isolated M2 lesions was small;
      ESCAPE, REVASCAT, and SWIFT PRIME excluded patients
                                                                                75 patients with carotid stenosis or occlusion in the interven­
                                                                                tion arm were stented during the thrombectomy procedure in
                                                                                MR CLEAN. Nine of the 19 patients with carotid occlusion in
                                                                                REVASCATS were stented at the time of thrombectomy. The
                                                                                management of the underlying lesion was not reported in the
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>?■   with isolated M2 occlusions, although small numbers of these              other trials. Outcomes for the subgroup of patients with cervi­
      patients were enrolled in these trials. The distinction of Ml             cal carotid occlusion were reported in ESCAPE (OR, 8.7; 95%
i     from M2 can be difficult in some patients because of early                Cl, 1.9-39.4) and MR CLEAN (adjusted OR, 1.43; 95% Cl,
      branches of the Ml such as the anterior temporal branch.                  0.78-2.64). Although thrombectomy for patients with cervical
      Inadequate numbers of patients with occlusion of other ves­               ICA occlusion is clearly indicated by these data, the optimal
•3    sels, including M3 and anterior cerebral artery occlusions and            management of the underlying stenosis is not clear. There are
to    those in the vertebrobasilar circulation, also were enrolled to           several potential advantages and disadvantages for angio­
y*
o     allow assessment of clinical efficacy in these territories.               plasty and stenting at the time of thrombectomy. Although
          The usefulness of mechanical thi'ombectomy devices other              imniediate revascuLirization may reduce the risk of recurrent
      than stent retrievers is not well established, either for techni­         stroke, urgent stenting generally requires antiplatelet prophy­
      cal efficacy of for clinical benefit. Most of the patients in MR          laxis, which has been associated with intracranial hemorrhage
      CLEAN and ESCAPE and all of the patients in EXTEND-IA,                    in this setting. Carotid stenting and inti-acranial thj'ombectomy
      SWIFT-PRIME, and REVASCAT who underwent an endo­                          for the treatment of acute stroke resulting from tandem occlu­
      vascular procedure were treated with a stent retriever (81.5%             sions with aggressive antiplatelet therapy may be associated
      in MR CLEAN, 86.1% in ESCAPE). These trials were not                      with a high incidence of intracranial hemon-hage.'"' ''’ In addi­
      designed to demonstrate the superiority of stent retrievers               tion, there is .some risk for thromboembolic stroke at the time
      over other devices such as snares or suction aspiration sys­              of stenting. Further studies are indicated.
      tems. Therefore, the recommendation that stent retrievers are                 General anesthesia with intubation and conscious seda­
      prefeiTed over MERCI is unchanged from the previous guide­                tion are the 2 most frequently used anesthetic approaches for
      lines based on the SWIFT and TREVO 2 (Trevo Versus Merci                  patients with an acute ischemic sti'oke receiving endovascular
      Reb'ievers for Thrombectomy Revascularisation of Large                    therapy.'"’ No dedicated randomized, controlled, clinical tri­
      Vessel Occlusions in Acute Ischaemic Stroke) studies.At                   als have addressed this issue. The MR CLEAN investigators
      the time the present guidelines were written, there were no               have reported that the outcorhes of the 79 patients in the endo­
      published randomized, clinical trials demonstrating clinical              vascular group who received general anesthesia were not dif­
      benefit or comparing the relative effectiveness of other devices          ferent from the outcomes of the 267 nonendovascular control
      versirs’stent retrievers.                                                 patients (adjusted OR, 1.09; 95% Cl, 0.69-1.71.), whereas
           None of these studies specified requirements for the use             the outcomes for the 137 endovascular patients who did not
      of a proximal balloon guide catheter, large-bore distal-access            receive general anesthesia were better than the outcomes for

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       the 267 control patients (adjusted OR, 2.13; 95% Cl, 1.46-             Recommendations
       3.11).'“ Similar data showing worse outcomes in those under­           Endovascular Interventions
       going general anesthesia compared with conscious sedation
                                                                                  1. Patients eligible for intravenous r-tPA should
       for endovascular were reported in a recent meta-analysis of
                                                                                      receive intravenous r-tPA even if endovascular
       9 nonrandomized studies comprising 1956 patients (814
                                                                                      treatments are being considered (Class I; Level of
       received general anesthesia, 1142 received conscious seda­
                                                                                      Evidence A). (Unchanged from the 2013 guideline)
       tion), with the largest study having 1079 patients and the
                                                                                  2. Patients should receive endovascular therapy
       smallest study having 66 patients."^ In this meta-analysis,
                                                                                      with a stent retriever if they meet all the follow­
       compared with conscious sedation, general anesthesia was                       ing criteria (Class I; Level of Evidence A). (New
       linked to lower odds of a favorable functional outcome (OR,                    recommendation);
       0.43; 95% Cl, 0.35-0.53; R<0.01), higher odds of mortality                    a. Prestroke mRS score 0 to 1,
       (OR, 2.59; 95% Cl, 1.87-3.58; P<0.01), and more adverse                        b. Acute ischemic stroke receiving intravenous
       respiratory events (OR, 2.09; 95% Cl, 1.36-3.23; P<0.01).                         r-tPA within 4.5 hours of onset according to
       No significant differences in the rates of asymptomatic ICH,                      guidelines from professional medical societies,
       sICH, or other vascular complications were seen between                       c. Causative occlusion of the ICA or proximal
       the groups. Furthermore, mean time to groin puncture, mean                        MCA (Ml),
       procedure time, and mean time from symptom onset to revas­                    d. Age ^18 years,
       cularization were not. significantly different between the 2                  e. NIHSS score of k6,
       techniques. There was substantial heterogeneity (F>50%)                       f. ASPECTS of S6, and
a      across the included studies for the outcomes of functional sta­               g. TVeatment can be initiated (groin puncture)
g.
S.     tus (P=55%), time to revascularization (F=60%), time to groin                     within 6 hours of symptom onset
       puncture (/-=83%), and procedure time (F=91%). In most of                  3. As with intravenous r-tPA, reduced time from
I
S’     the included studies, patients who received general anesthe­                   symptom onset to reperfusion with endovascular
       sia were typically in worse clinical condition at baseline, as                 therapies is highly associated with better clinical
                                                                                      outcomes. To ensure benefit, reperfusion to TICI
3      reflected by their comparatively higher NIHSS scores. Only
                                                                                      grade 2b/3 should be achieved as early as possible
       6 of the 9 studies included information on baseline NIHSS
                                                                                      and within 6 hours of stroke onset (Class I; Level
       score. Adjusting for NIHSS score by the use of meta-regres-
0                                                                                     of Evidence B-R). (Revised from the 2013 guideline)
c      sion for the odds of having good functional outcomes yielded
                                                                                  4. When treatment is Initiated beyond 6 hours from
1      an OR of 0.38, which was similar to the unadjusted estimate                    symptom onset, the effectiveness of endovascular
       of 0.43; however, the 95% Cl became statistically insignifi­
t•S'   cant (0.12-1.22). Thus, even after adjustment for initial stroke
                                                                                      therapy is uncertain for patients with acute isch­
                                                                                      emic stroke who have causative occlusion of the
       severity, the possibility of selection bias cannot be completely               ICA or proximal MCA (Ml) (Class lib; Level of
i      excluded. Patients with more severe strokes or poorer baseline                 Evidence C). Additional randomized trial data are
       conditioning may have received general anesthesia or may                       needed. (New recommendation)
       have been intubated before the procedure because of an actual              5. In carefully selected patients with anterior circulation
       or expected inability to maintain airway patency. Moreover, it                 occlusion who have contraindications to intravenous
K)
       is possible that the lower recanalization rates observed with                  r-tPA, endovascular therapy with stent retrievers
       general anesthesia in some studies were attributable to greater                completed within 6 hours of stroke onset is reason­
       numbers of more technically difficult vascular occlusions in                   able (Class lla; Level of Evidence C). Inadequate data
       those who received general anesthesia. On balance, published                   are available at this time to determine the clinical
       data broadly indicate that conscious sedation might be safer                   efficacy of endovascular therapy with stent retrievers
       and more effective than general anesthesia in the setting of                   for those patients whose contraindications are time
       endovascular therapy for acute ischemic stroke. However, spe­                  based or not time based (eg, prior stroke, serious head
       cific randomized, controlled trial data are warranted to defini­               trauma, hemorrhagic coagulopathy, or receiving
       tively establish conscious sedation as the preferred anesthetic                anticoagulant medications). (New recommendation)
                                                                                  6. Althougli the benefits are uncertain, the use of endo­
       technique in patients receiving endova.scular treatment for
                                                                                      vascular therapy with stent retrievers may be reason­
       acute ischemic stroke. Clinical trials are ongoing (http:/Avww.
                                                                                      able for carefully selected patients with acute ischemic
       clinicaltrials.gov; NCTOl 872884, NCT02317237).
                                                                                      stroke in whom treatment can be initiated (groin punc­
           The AHA’s Level of Evidence grading algorithm
                                                                                      ture) vtithin 6 hours of symptom onset and who have
       requires high-quality evidence from >1 randomized, con­
                                                                                      causative occlusion of the M2 or M3 portion of the
       trolled trial for Level of Evidence A. In accordance with                      MCAs, anterior cerebral arteries, vertebral arteries,
       this algorithm and the results from the 5 recent studies with                  basilar artery, or posterior cerebral arteries (Class
       stent retrievers summarized above, we concluded that the                      lib; Level of Evidence C). (New recommendation)
       data supported Class I, Level of Evidence A recommen­                      7. Endovascular therapy with stent retrievers may
       dations but only for a carefully defined group of patients                     be reasonable for some patients <18 years of
       (see Recommendation 2). Subsequent meta-analysis of                            age with acute ischemic stroke who have dem­
       patient-level data may allow these recommendations to be                       onstrated large-vessel occlusion in whom treat­
       expanded.                                                                      ment can be initiated (groin puncture) within 6

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             hours of symptom onset, but the benefits are not              15. Intra-arterial fibrinolysis initiated within 6 hours
             established in this age group (Class fib; Level of                 of stroke onset in carefully selected patients who
             Evidence C). (New recommendation)                                  have contraindications to the use of intravenous
         8. Although its benefits are uncertain, the use of                     r-tPA might be considered, but the consequences
             endovascular therapy with stent retrievers may                     are unknown (Class lib; Level of Evidence C).
             be reasonable for patients with acute ischemic                     (Revised from the 2013 guideline)
             stroke in whom treatment can be initiated (groin              16. It might be reasonable to favor conscious sedation
             puncture) within 6 hours of symptom onset and                      over general anesthesia during endovascular ther­
             who have prestroke mRS score >1, ASPECTS <6,                      apy for acute ischemic stroke. However, the ultimate
             or NIHSS score <6 and causative occlusion of the                  selection of anesthetic technique during endovas­
             ICA or proximal MCA (Ml) (C/«ss Ilb; Level of                      cular therapy for acute ischemic stroke should be
             Evidence B-R). Additional randomized trial data                   Individualized on the basis of patient risk factors,
             are needed. (New recommendation)                                  tolerance of the procedure, and other clinical char­
         9. Observing patients after intravenous r-tPA to                      acteristics. Randomized trial data are needed (Class
             assess for clinical response before pursuing endo­                Ilb; Level of Evidence C). (New recommendation)
             vascular therapy is not required to achieve benefi­        Imaging
             cial outcomes and is not recommended. (Class III;
             Level of Evidence B-R). (New recommendation)                   1. Emergency imaging of the brain is recommended
o
0       10. Use of stent retrievers is indicated in preference to the           before any specific treatment for acute stroke is initi­
5-
             MERCI device. (Class I; Level ofEvidence A). The use              ated (Class I; Level ofEvidence A). In most instances,
             of mechanical thrombectomy devices other than stent
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<u
CL           retrievers may be reasonable in some circumstances
                                                                                nonenhanced CT will provide the necessary infor­
                                                                                mation to make decisions about emergency manage­
?3           (Class lib, Level B-NR). (New recommendation)                      ment. (Unchanged from the 2013 guideline)
        11. The use of a proximal balloon guide catheter or                 2. If endovascular therapy is contemplated, a non-
■a           a large-bore distal-access catheter rather than a                 invasive intracranial vascular study is strongly
             cervical guide catheter alone in conjunction with                  recommended during the Initial Imaging evalu­
3
             stent retrievers may be beneficial (Class lla; Level              ation of the acute stroke patient but should not
             of Evidence C). Future studies should examine                     delay intravenous r-tPA if indicated. For patients
£.
             which systems provide the highest recanalization                  who qualify for intravenous r-tPA according to
             rates with the lowest risk for nontarget emboliza­                guidelines from professional medical societies,
             tion. (New recommendation)                                        initiating intravenous r-tPA before noninvasive
        12. The technical goal of the thrombectomy procedure                   vascular imaging is recommended for patients
             should be a TICI grade 2b/3 angiographic result                    who have not had noninvasive vascular imaging as
(re
             to maximize the probability of a good functional                  part of their initial imaging assessment for stroke.
i            clinical outcome (Class I; Level of Evidence A).                  Noninvasive Intracranial vascular imaging should
             Use of salvage technical adjuncts, including intra­               then be obtained as quickly as possible (Class I;
             arterial fibrinolysis, may be reasonable to achieve               Level of Evidence A). (New recommendation)
-3           these angiographic results if completed within                 3. The benefits of additional imaging beyond CT and
NJ
             6 hours of symptom onset (Class lib; Level of                     CTA or MRI and MRA such as CT perfusion or dif­
             Evidence B-R). (New recommendation)                               fusion- and perfusion-weighted imaging for select­
        13. Angioplasty and stenting of proximal cervical ath­                 ing patients for endovascular therapy are unknown
             erosclerotic stenosis or complete occlusion at the                (Class Ilb; Level of Evidence C). Further random­
             time of thrombectomy may be considered, but                       ized, controlled trials may be helpful to determine
             the usefulness is unknown (Class Lib; Level of                    whether advanced imaging paradigms using CT
            Evidence C). Future randomized studies are needed.                 perfusion, CTA, and MRI perfusion and diffusion
             (New recommendation)                                              imaging, including measures of infarct core, collat­
        14. Initial treatment with intra-arterial fibrinolysis                 eral flow status, and penumbra, are beneficial tor
             is beneficial for carefully selected patients with                selecting patients for acute reperfusion therapy who
             major ischemic strokes of <6 hours’ duration                      are witliin 6 hours of symptom onset and have an
             caused by occlusions of the MCA (Class I; Level                   ASPECTS <6. Further randomized, controlled tri­
            of Evidence B-R). However, these data are derived                  als should be done to deterriiine whether advanced
             from clinical trials that no longer reflect current               imaging paradigms with CT perfusion, MRI perfu­
             practice, including the use of fibrinolytic drugs                 sion, CTA, and diffusion Imaging, including mea­
             that are not available. A clinically beneficial dose              sures of infarct core, collateral flow status, and
             of intra-arterial r-tPA is not established, and r-tPA             penumbra, are beneficial for selecting patients for
            does not have US Food and Drug Administration                      acute reperfusion therapy who are beyond 6 hours
            approval for intra-arterial use. As a consequence,                 from symptom onset. (New recommendation)
             endovascular therapy with stent retrievers is              Systems of Stroke Care
             recommended over intra-arterial fibrinolysis as
            first-line therapy (Class I; Level of Evidence E).              1. Patients should be transported rapidly to the
             (Revised from the 2013 guideline)                                 closest available certified primary stroke center


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                    or comprehensive stroke center or, if no such                                          It may be useful for primary stroke centers and
                    centers exist, the most appropriate institution                                        other healthcare facilities that provide initial emer­
                    that provides emergency stroke care as described                                       gency care, including administration of Intravenous
                    in the 2013 guidelines fClass I; Level of Evidence                                      r-tPA, to develop the capability of performing emer­
                    A). In some instances, this may involve air medi­                                      gency noninvasive intracranial vascular imaging
                    cal transport and hospital bypass. (Unchanged                                           to most appropriately select patients for transfer
                    from the 2013 guideline)                                                                for endovascular intervention and to reduce the
                    Regional systems of stroke care should be devel­                                        time to endovascular treatment (Class lib; Level of
                    oped. These should consist of the following:                                           Evidence C). (Revised from the 2013 guideline)
                    a. Healthcare facilities that provide initial emergency                                Endovascular therapy requires the patient to be at
                       care, including administration of intravenous                                       an experienced stroke center with rapid access to
                       r-tPA, such as primary stroke centers, compre­                                      cerebral angiography and qualified neurointerven-
                       hensive stroke centers, and other facilities, and                                   tionalists. Systems should be designed, executed,
                    b. Centers capable of performing endovascular                                          and monitored to emphasize expeditious assessment
                       stroke treatment with comprehensive peripro-                                        and treatment. Outcomes for all patients should be
                       cedural care, including comprehensive stroke                                        tracked. Facilities are encouraged to define criteria
                       centers and other healthcare facilities, to which                                   that can be used to credential individuals who can
                       rapid transport can be arranged when appro­                                         perform safe and timely intra-arterial revascular­
 0                     priate {Class I; Level of Evidence A). (Revised                                     ization procedures (Class I; Level of Evidence E).
1                      from the 2013 guideline)                                                            (Revised from the 2013 guideline)

s.2.                                                                              Disclosures
?3     Writing Group Disciosures
                                                                                  Other
       Writing Group                                                             Research       Speakers'         Expert         Ownership        Consultant/Advisory
       Member                   Employment               Research Grant          Support     Bureau/Honoraria     Witness         Interest              Board             Other
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          This table represents the relationships of writing group members that may be perceived as actual or reasonably perceived conflicts of interest as reported on the
       Disclosure Questionnaire, which all members of the writing group are required to complete and submit. A relationship is considered to be “significant" if (a) the person
       receives $10 000 or more during any 12-month period, or 5% or more of the person’s gross income; or (b) the person owns 5% or more of the voting stock or share of
       the entity, or owns $10000 or more ofthe tair market value of the entity. A relationship is considered to be “modest" if it is less than "significant” under the preceding
       definition.
          •Modest.
          fSignificant.


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     3034          Stroke         October 2015


     Reviewer Disclosures

                                                                     Other Research    Speakers'                                Ownership         Consultant/
     Reviewer                Employment             Research Grant      Support     Bureau/Honoraria Expert Witness              Interest        Advisory Board       Other
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        This table represents the relationships of reviewers that may be perceived as actual or reasonably perceived conflicts of interest as reported on the Disclosure
     Questionnaire, which all reviewers are required to complete and submit. A relationship is considered to be “significant” if (a) the person receives $10 000 or more during
     any 12-month period, or 5% or more of the person’s gross income; or (b) the person owns 5% or more of the voting stock or share of the entity, or owns $10 000 or more
     of the fair market value of the entity. A relationship is considered to be “modest” if it is less than “significant" under the preceding definition.
        •Modest.
        tSignificant.




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              Stroke
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                                                                                                             American    American
                                                                                                               Heart     Stroke
                                                                                                           Association   Association 0



        2015 American Heart Association/American Stroke Association Focused Update of the
          2013 Guidelines for the Early Management of Patients With Acute Ischemic Stroke
       Regarding Endovascular Treatment: A Guideline for Healthcare Professionals From the
                      American Heart Association/American Stroke Association
      William J. Powers, Colin P. Derdeyn, Jose Biller, Christopher S. Coffey, Brian L. Hoh, Edward
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o                      James F. Meschia, Bruce Ovbiagele and Dileep R. Yavagal
                       on behalf of the American Heart Association Stroke Council


                       Stroke. 2015;46:3020-3035; originally published online June 29, 2015;
                                       doi: 10.1161/STR.0000000000000074
p
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O                                      Print ISSN: 0039-2499. Online ISSN: 1524-4628
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 o     The online version of this article, along with updated information and services, is located on the
                                              World Wide Web at:
                                                      http://stroke.ahajoumals.org/content/46/I0/3020

                                                                     Data Supplement (unedited) at:
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                 AHA/ASA Guideline

                      ^ifilWa^4»cojfii®^p^'^3f {cHlf                                                 F^-r >
                          —2013 ^mif^ K^-r y<Dm^mryy^f^- b—
                      2015 American Heart Association/American Stroke Association Focused Update of the 2013 Guidelines for the
                      Early Management of Patients With Acute Ischemic Stroke Regarding Endovascular Treatment
                      A Guideline for Healthcare Professionals From the American Heart Association/American Stroke Association
                      The American Academy of Neurology ajfirms the value of this guideline as an educational tool for neurologists.
                      Endorsed by the American As.tociation of Neurological Surgeons (AANS); Congress of Neurological Surgeons (CNS);
                      AANS/CNS Cerebrovascular Section; American Society of Neuroradiology: and Society of Vascular and Interventional
                      Neurology

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                      Chelsea S. Kidwell, MD, FAHA; James F. Meschia, MD, FAHA;
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                      on behalf of the American Heart Association Stroke Council


                                                                              Stroke. 2015;46:3024-3039. DOI: 10.1161/STR.0000000000000074.

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         Wf*)i:^Tt5WT-feni3:XP> P'J P M-r*:-!: J:5fllBi*3;&)SttSaT-S>%„ g,?.OT$P^i:®-3 < fcWT'
         s.5*'g*>(s2^<progia, a®4-MSi'Pffl,                                                xp
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           3«o
      6. .t.14l®fllH4lia$4rS|ggL. IgSfS-6 PSPSPyrtnifeSW'gfTOSIsgT'(SgS^ifli), tpTcMKW M2 S t« M3,                 XXX 1/b ,' X fc'P‘>x P--.7P C
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      7.                                  SlfSJiitroPfla&^L, «®S6B$P=1tirtlc^JSA'TOgpjBg(SS#»j) 4: 18              XXX ;/b ,• X t'x>x P-A7P c
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           iSttA'-ffli s nr 1.' 41 r (a/i 4:it3#),
      8. ,s.ttitJSierB^4-,e.it^o7-5, ?gffim6 9#fBU:tp9i:-;sis*'rag5jHgT'(a®#*ij), Kz^rpigjEflfiromRs X3            X XX /to ;' X fc"P">X P"^'7P S-R
         r >1. ASPECTS<6 STitt NIHSS XXT<6 T', l*li»i4SRS 7ctt+*^®lffit£eg6 (Ml) ICB^'pm/^S t
         45PJS«Wf5,S#-ptt, W&t4li*IIITB4i'4', Xx>PU P ULh
         4r,'„                       51;*^-?*% (*fifc4«),
      9. ifiltrtisasiiffirsBuc, KffMsssfflrsiM-i? rt-PA sfMWs^«t:,s#5:tig'rsEi:ij, man                             X X X ///; X fc'iP'> X ^ A7P S-f?
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 10. xp> PM PM-/'!-«ftfflS MERCIxvWX3;M®7ET'4tr'*a.,                                                               XXXI: lt'r>XU-^7PA
     XP> PM PM-M-U(^’ProS«atiiJitt^*?/HxroffiPi4'Sai4-^^t*3 (a7c4)tt«).                                            X XX /to; X fc"x>x p-^vp e-NR




Case 3:17-cv-00725                           Document 83-1                      Filed 05/11/18         Page 20 of 21 PageID #: 1029
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       i'(2013^;'i-f K9< >46$$4ft)o
 2.                                       cncBWT«2iia®ffl*ac^gT'fe3„                                                        7771: xtr>7ur<jkA
    a. rt-PA «P3}S^^mW»i&.t.-;&/S i 'ft 7 E/SffiS (-b > cP -, ■aJSKllS2p4> b > /S'
    b. S«4Ji^CB;ii'f>4C«S-pS-3HiiBi^iS)Ht-a}56t)4|ll«»ilSS4'prHe4SJS63SJp4'b>^7-4f(7>E)S
       ;JSIS(20l3PP*'-f P'9'r>463;M)o
 3. -;XE2p47-b>c?-*J:t/ri-PAS?*p*3}S=5.S(OWfflif.m>sas?T7-lt!!i7)EI»l®ISB. Mp^ifiJirotfeCKJ^T                               777c //ft : xBf-’>7u-xjoc
                wc»Rft, ins^rtis/sradfesT*(7)B$F='i^®{g'r3t»c,
    r-g3 J: 7 cr3.it            ft Ji4p'(2013^*'-f P*7 T >4 6-^® )„
 4. *«P*3)S«B:, JSiilllB^ggJSfflJlCttffrt, 5SS;gn4^i!iiliJ6lffl*!;S/SEWt,'30R*^4«i$4"-b>7-T't?                              777 / : Xt'f-'>7 Ur<J0E
        7.jZ'^4'«3o ffl!S4W«*J:0';S)SCI|,*SSP'4«lJSKIt. Mftb. egr3-cST'*3c. itz, t'<X<D
       ®#rosisiisfr^'gr-*3„ &jsis:b, umftm'ftwmm^’S^t'-ornm'.zi&fttiztb'-mbtemm'mm
       s«s®:r3Si»SHS:r3it4')tt3Sgn3 {2oi3ip*'<     >46-$m).




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